                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:16CR13-3-RLV


UNITED STATES OF AMERICA,        )
               Plaintiff,        )
                                 )
                                 )                       AMENDED
           vs.                   )                       ORDER
                                 )
HARDY TYRELL SMITH,              )
                Defendant.       )
________________________________ )


       THIS MATTER is before the Court upon Defendant’s Unopposed Motion to

Continue Docket Call from the May 2, 2016, criminal term, in the Statesville Division.

       For the reasons stated in the Defendant’s Motion and upon a showing that defense

counsel has not had sufficient time within which to adequately prepare in this case, taking

into account the exercise of due diligence, the Court will allow the continuance. 18 U.S.C.

§ 3161(h)(8)(B)(iv). The Court further finds that the ends of justice served by taking such

action as requested by the Defendant outweigh the best interest of the public and the

Defendant to a speedy trial.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a continuance is

GRANTED. This case is hereby continued from the May 2, 2016, criminal term in the

Statesville Division to the July 18, 2016, criminal term in the Statesville Division.



    Signed: April 11, 2016




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